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                                                        The Honorable John C. Coughenour

                            UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE


                                                )
    PUGET SOUNDKEEPER ALLIANCE,                 )
    SIERRA CLUB, and IDAHO                      )
    CONSERVATION LEAGUE,                        )
                                                )   Case No. 2:15-cv-01342-JCC
                                 Plaintiffs,    )
                                                )
           v.                                   )   FEDERAL DEFENDANTS’ OPPOSITION
                                                )   TO PLAINTIFFS’ MOTION FOR
    ANDREW WHEELER,1 in his official            )   SUMMARY JUDGMENT AND CROSS-
    capacity as Administrator of the United     )   MOTION FOR SUMMARY JUDGMENT
    States Environmental Protection Agency,     )
    and R.D. JAMES,2 in his official capacity   )   NOTED: June 28, 2019
    as Assistant Secretary of the Army for      )
    Civil Works,                                )
                                                )
                                 Defendants.    )
                                                )




1
  Pursuant to Federal Rule of Civil Procedure 25(d)(1), Andrew Wheeler, Administrator of the
U.S. Environmental Protection Agency, is substituted for Scott Pruitt, who was substituted as a
defendant for Gina McCarthy.
2
  Pursuant to Federal Rule of Civil Procedure 25(d)(1), R.D. James, Secretary of the Army for
Civil Works, is substituted as a defendant for Jo-Ellen Darcy.
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 1                                            INTRODUCTION
 2          Plaintiffs challenge a regulatory exemption first promulgated in 1979, revised in 1980,
 3   and republished in 1983 and 1986. In 2015, the U.S. Environmental Protection Agency and the
 4
     Department of the Army (“the Agencies”) promulgated a new definition of “waters of the United
 5
     States” under the Clean Water Act. This 2015 rule expressly does not substantively change the
 6
 7   long-standing, previously-promulgated exclusion. The Agencies made clarifying, ministerial

 8   adjustments to text. They renumbered the provision. They deleted an outdated cross-reference.
 9
     But Plaintiffs do not challenge either of these changes. Plaintiffs argue that the Agencies should
10
     never have established the exclusion decades ago.
11
            This Court has no jurisdiction to consider the challenge for two reasons. First, Plaintiffs
12
13   have not met their burden to show standing. They have not offered, as they must on summary

14   judgment, specific facts establishing injury, traceability, or redressability.
15
            Second, Plaintiffs’ challenge is untimely by several decades. The six-year statute of
16
     limitations period to challenge the waste treatment system exclusion began in 1980 and expired
17
18   long ago. 28 U.S.C. § 2401 (civil actions against the United States must be brought within six

19   years). The only way that Plaintiffs could challenge the exclusion is if the Agencies undertook
20   “serious, substantive” reconsideration of the exclusion in the 2015 rulemaking. Nat’l Mining
21
     Ass’n v. DOI, 70 F.3d 1345, 1352 (D.C. Cir. 1995). In the proposal for the 2015 rule, the
22
     Agencies explicitly stated six times that they were not undertaking substantive review of the
23
24   exclusion. 79 Fed. Reg. 22,188, 22,189, 22,190 (twice), 22,193, 22,195, 22,217 (Apr. 21, 2014).

25   And the Agencies did not make substantive changes to the exclusion in the final rule. The 2015
26   rule thus did not reopen the waste treatment system exclusion to substantive challenge.
27
28
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 1          Were this Court to consider the substance of the waste treatment system exclusion, it
 2   should follow the reasoning of the only court to have considered the same question. In Ohio
 3
     Valley Environmental Coalition v. Aracoma Coal Co., the Fourth Circuit decided that the waste
 4
     treatment system exclusion is lawful. 556 F.3d 177, 212 (4th Cir. 2009). It is a reasonable
 5
 6   interpretation of the scope of waters covered by the Clean Water Act.

 7                                           BACKGROUND
 8   A. The Clean Water Act
 9
            The Clean Water Act (“CWA”) generally prohibits unauthorized discharges of pollutants
10
     to “navigable waters.” 33 U.S.C. §§ 1311(a), 1362(12). The CWA defines “navigable waters” to
11
     mean “the waters of the United States, including the territorial seas,” id. § 1362(7), but does not
12
13   define the term “waters of the United States.”

14          The CWA establishes two permitting programs for authorizing discharges of pollutants to
15
     “waters of the United States.” For discharges of pollutants other than dredged or fill material, the
16
     Environmental Protection Agency (“EPA”) or authorized states may issue National Pollutant
17
18   Discharge Elimination System or “section 402” permits. Id. § 1342. For discharges of dredged or

19   fill material, the Secretary of the Army acting through the Army Corps of Engineers (“Corps”),
20   or a state with an approved program, may issue “section 404” permits. Id. § 1344(a), (d), (g).
21
     B. Regulatory history of the waste treatment system exclusion
22
            EPA serves as the CWA’s chief administrator, 33 U.S.C. § 1251(d), “prescrib[ing] such
23
24   regulations as are necessary” to carry out the Act’s functions. Id. § 1361(a). EPA and the Corps

25   have separate regulations defining the statutory term “waters of the United States,” but the text of
26
27
28
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 1   the Agencies’ regulations has been virtually identical since the late 1980s. See 51 Fed. Reg.
 2   41,206 (Nov. 13, 1986); 53 Fed. Reg. 20,764 (June 6, 1988).
 3
            In 1979, EPA promulgated a revised definition of “waters of the United States” after
 4
     notice and public comment. 44 Fed. Reg. 32,854 (June 7, 1979). A “frequently encountered
 5
 6   comment” was that “waste treatment lagoons or other waste treatment systems should not be

 7   considered waters of the United States.” Id. at 32,858. EPA agreed, except as to cooling ponds
 8
     that otherwise meet the criteria for “waters of the United States.” Id. The 1979 revised definition
 9
     of “waters of the United States” set forth several criteria and provided that “waste treatment
10
     systems (other than cooling ponds meeting the criteria of this paragraph) are not waters of the
11
12   United States.” Id. at 32,901 (40 C.F.R. § 122.3(t)).

13          The following year, EPA revised the exclusion to clarify its application to treatment
14
     ponds and lagoons and to specify the type of cooling ponds that fall outside the scope of the
15
     exclusion. 45 Fed. Reg. 33,290, 33,298 (May 19, 1980). EPA further decided to revise the
16
17   exclusion to clarify that “treatment systems created in [waters of the United States] or from their

18   impoundment remain waters of the United States,” while “[m]anmade waste treatment systems
19   are not waters of the United States.” Id. The revised exclusion read:
20
                    Waste treatment systems, including treatment ponds or lagoons
21                  designed to meet the requirements of CWA (other than cooling
                    ponds as defined in 40 C.F.R. § 423.11(m) which also meet the
22                  criteria of this definition) are not waters of the United States. This
23                  exclusion applies only to manmade bodies of water which neither
                    were originally created in waters of the United States (such as a
24                  disposal area in wetlands) nor resulted from the impoundment of
                    waters of the United States.
25
26   45 Fed. Reg. at 33,424 (40 C.F.R. § 122.3).

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 1          Two months following this revision, EPA took action to “suspend[] a portion” of the
 2   waste treatment system exclusion in response to concerns raised in petitions for review of the
 3
     revised definition of “waters of the United States.” 45 Fed. Reg. 48,620 (July 21, 1980). EPA
 4
     explained that industry petitioners objected to limiting the waste treatment system exclusion to
 5
 6   manmade features, arguing that the revised exclusion “would require them to obtain permits for

 7   discharges into existing waste treatment systems, such as power plant ash ponds, which had been
 8
     in existence for many years.” Id. at 48,620. The petitioners argued that “[i]n many cases, . . .
 9
     EPA had issued permits for discharges from, not into, these systems.” Id. Agreeing that the
10
     regulation “may be overly broad” and “should be carefully re-examined,” EPA announced that it
11
12   was “suspending [the] effectiveness” of the sentence limiting the exclusion to manmade bodies

13   of water. Id. EPA then stated that it “intend[ed] promptly to develop a revised definition and to
14
     publish it as a proposed rule for public comment,” after which the Agency would decide whether
15
     to “amend the rule, or terminate the suspension.” Id.
16
17          In 1983, EPA republished the waste treatment system exclusion with a note explaining

18   that the agency’s July 1980 action had “suspended until further notice” the sentence limiting the
19   exclusion to manmade bodies of water, and that the 1983 action “continue[d] that suspension.”
20
     48 Fed. Reg. 14,146, 14,157 (Apr. 1, 1983) (40 C.F.R. § 122.2).
21
            Separately, the Corps published an updated definition of “waters of the United States” in
22
23   1986. This regulatory definition contained the waste treatment system exclusion, but it did not

24   include the exclusion’s suspended sentence: “Waste treatment systems, including treatment
25   ponds or lagoons designed to meet the requirements of CWA (other than cooling ponds as
26
27
28
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 1   defined in 40 CFR 123.11(m) which also meet the criteria of this definition) are not waters of the
 2   United States.” 51 Fed. Reg. at 41,250 (33 C.F.R. § 328.3).
 3
            Later revisions to the definition of cooling ponds rendered the exclusion’s cross-reference
 4
     to 40 C.F.R. § 123.11(m) outdated. See 47 Fed. Reg. 52,290, 52,291, 52,305 (Nov. 19, 1982)
 5
 6   (revising regulations related to cooling waste streams, but deleting definition of cooling ponds).

 7          In 2014, the Agencies proposed a revised definition of “waters of the United States,” but
 8
     explicitly “propose[d] no change to the exclusion for waste treatment systems . . . .” 79 Fed. Reg.
 9
     22,188, 22,189 (Apr. 21, 2014). Because the Agencies did not intend to address the waste
10
     treatment system exclusion in the rulemaking, the Agencies specified that they “[did] not seek
11
12   comment on th[is] existing regulatory provision[].” Id. at 22,190. The Agencies stated that they

13   were not proposing substantive changes to the waste treatment system exclusion a total of six
14
     times. Id. at 22,189, 22,190, 22,193, 22,195, 22,217. The Agencies did propose certain
15
     “ministerial actions” for the waste treatment system exclusion. Id. at 22,217. Specifically, the
16
17   Agencies sought to renumber the exclusion and to delete the exclusion’s cross-reference to an

18   EPA cooling pond regulation that is no longer in the Code of Federal Regulations. The
19   parenthetical to be deleted read: “(other than cooling ponds as defined in 40 CFR 423.11(m)
20
     which also meet the criteria of this definition).” Id. The Agencies made clear that they “[did] not
21
     consider this deletion to be a substantive change to the waste treatment systems exclusion or how
22
23   it is applied.” Id. The 2014 proposed definition of “waters of the United States” would thus

24   exclude “[w]aste treatment systems, including treatment ponds or lagoons, designed to meet the
25   requirements of the Clean Water Act.” Id. at 22,263 (33 C.F.R. § 328.3(b)(1)).
26
27
28
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 1          Plaintiffs commented on the 2014 proposed rule, arguing that the Agencies should make
 2   substantive changes to the waste treatment system exclusion. In these comments, Plaintiff Sierra
 3
     Club acknowledged that the proposed waste treatment system exclusion was “unchanged from
 4
     the current regulations.” Pls. Ex. 1 at 58-59. Plaintiff Idaho Conservation League described the
 5
 6   2014 proposed rule as a “proposal to retain the so-called waste treatment system exclusion in its

 7   current form.” Pls. Ex. 2 at 16.
 8
            Some commenters noticed that, in addition to deleting the outdated cross-reference to
 9
     cooling ponds, the Agencies had revised the waste treatment system exclusion in the 2014
10
     proposed rule by adding a comma after “lagoons.” 80 Fed. Reg. 37,054, 37,097 (June 29, 2015).
11
12   In response, the Agencies explained that they did “not intend to change how the waste treatment

13   exclusion is implemented” in the final 2015 rule. The Agencies stated that the 2015 rule would
14
     “[c]ontinu[e] current practice” on waste treatment systems. Id. To avoid any misunderstanding
15
     and to preclude any suggestion that the final rule changed the substantive meaning of the
16
17   exclusion, the Agencies did not finalize the comma that had appeared for the first time in the

18   proposed rule. Id. at 37,104. The exclusion in the final 2015 rule thus reads “[w]aste treatment
19   systems, including treatment ponds or lagoons designed to meet the requirements of the Clean
20
     Water Act.” See, e.g., id. (33 C.F.R. § 328.3(b)(1)). This language is the same as the Agencies’
21
     earlier version of the waste treatment system exclusion, such as in the 1986 rule, without the
22
23   cross-reference to the outdated cooling pond regulation. The Agencies noted that though they

24   had received some substantive comments on the waste treatment system exclusion, those
25   comments were “outside the scope of the proposed rule” because the Agencies had not proposed
26
     “any substantive changes to the waste treatment system exclusion.” Id. at 37,097.
27
28
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 1   C. Procedural History
 2          Plaintiffs filed their original complaint challenging the 2015 rule in August 2015. Dkt.
 3
     No. 1. They argue that the waste treatment system exclusion exceeds the Agencies’ statutory
 4
     authority and is arbitrary and capricious, and that the 2015 rule violates notice-and-comment
 5
 6   requirements. Pls. Br., Dkt. 67 at 1. Plaintiffs seek, among other things, to require EPA to open

 7   rulemaking proceedings to address the substance of the exclusion. Pls. Br., Dkt. 67 at 16-17.
 8
            In early 2017, the President issued an Executive Order directing the Agencies to review
 9
     the 2015 “waters of the United States” rule at issue in the broader litigation and to publish for
10
     notice and comment a proposed rule rescinding or revising the 2015 rule, as appropriate and
11
12   consistent with law. 82 Fed. Reg. 12,497 (Feb. 28, 2017). Consistent with the President’s

13   directive, in July 2017 the Agencies proposed to rescind the 2015 rule. If finalized, this proposal
14
     would recodify the prior regulatory definition of “waters of the United States,” promulgated by
15
     the Agencies in the late 1980s. See “Definition of ‘Waters of the United States’−Recodification
16
17   of Pre-Existing Rules.” 82 Fed. Reg. 34,899 (July 27, 2017). The Agencies sought additional

18   comment on the proposed rescission of the 2015 rule through a supplemental notice of proposed
19   rulemaking. 83 Fed. Reg. 32,227 (July 12, 2018). The public comment period closed in August
20
     2018, and the proposal remains under consideration.
21
            In addition to that rulemaking, on February 14, 2019, the Agencies proposed a new
22
23   definition of “waters of the United States.” 84 Fed. Reg. 4154. In the accompanying Federal

24   Register notice, the Agencies propose to address the substance of the waste treatment system
25   exclusion by defining “waste treatment system” for the first time. Id. at 4190. This definition
26
     would “clarify which waters and features are considered part of a waste treatment system and
27
28
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 1   therefore excluded.” Id. at 4193. Plaintiffs had the opportunity to submit public comments on the
 2   proposed rule, they submitted comments, and in these comments, Plaintiffs make substantive
 3
     arguments about the appropriate extent of the definition of waste treatment systems. See
 4
     Comment by Earthjustice submitted on behalf of Sierra Club, Puget Soundkeeper, Idaho
 5
 6   Conservation League, et al., pp. 45-48, EPA-HQ-OW-2018-0149-4343, available at

 7   www.regulations.gov.1
 8
                                        STANDARD OF REVIEW
 9
            Plaintiffs have the burden of proof on summary judgment to prove that they have
10
     standing. Lujan v. Defenders of Wildlife, 504 U.S. 555, 561 (1992). On the merits, under the
11
12   Administrative Procedure Act (“APA”), an agency action is unlawful only if “arbitrary,

13   capricious, an abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C. §
14
     706(2)(A); Vigil v. Leavitt, 381 F.3d 826, 833 (9th Cir. 2004) (citations omitted). This standard is
15
     narrow, and a court is “not [to] substitute [its] judgment for that of the agency.” Nw. Ecosystem
16
17   All. v. U.S. Fish & Wildlife Serv., 475 F.3d 1136, 1140 (9th Cir. 2007) (citations omitted). The

18   agency need only have “considered the relevant factors and articulated a rational connection
19   between the facts found and the choices made.” Id. at 1140 (citation omitted). In short, the
20
     agency’s decision must be upheld so long as it is rational. Motor Vehicle Mfrs. Ass’n v. State
21
     Farm Mut. Auto Ins. Co., 463 U.S. 29, 42-43 (1983).
22
23
24
     1
25    Yesterday, a court in the Southern District of Texas held that the 2015 rule violated the APA’s
     notice-and-comment requirements and remanded the rule for further proceedings without
26   vacating the rule. See Texas v. EPA, Civ. Act. No. 3:15-cv-00162 (S.D. Tex. May 28, 2019), Dkt.
27   No. 193. The Agencies are reviewing the decision and considering its implications for this and
     other litigation over the 2015 rule.
28
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 1            Questions of statutory interpretation are governed by the two-step test set forth in
 2   Chevron U.S.A. Inc. v. NRDC, 467 U.S. 837, 842-43 (1984). Under the first step, the reviewing
 3
     court must determine “whether Congress has directly spoken to the precise question at issue.”
 4
     Id. at 842. If congressional intent is clear from the statutory language, the inquiry ends. Id. at
 5
 6   842-43. If the statute is silent or ambiguous on a particular issue, the Court must accept the

 7   agency’s interpretation if it is reasonable. Id. at 843 & n.11; Chemical Mfrs. Ass’n v. NRDC, 470
 8
     U.S. 116, 125 (1985).
 9
                                                 ARGUMENT
10
              Plaintiffs argue that the waste treatment system exclusion, as it continues to appear after
11
     the 2015, rule exceeds the Agencies’ statutory authority and is arbitrary and capricious; and that
12
13   the Agencies should have responded substantively to comments that the Agencies did not seek

14   because the Agencies proposed no substantive changes. They also seek unprecedented relief,
15
     asking this Court to effectively rewrite an agency regulation. Plaintiffs have no standing to bring
16
     this challenge; their facial challenges are untimely; and the exclusion is within the Agencies’
17
18   authority. If the Court disagrees, the appropriate remedy would be to remand to the Agencies for

19   consideration of substantive comments on the waste treatment system exclusion.
20       I.      Plaintiffs have not shown standing.
21
              The Constitution requires that Plaintiffs have standing. Lujan, 504 U.S. at 559-60. That
22
     is, they must suffer an injury in fact that is fairly traceable to the challenged action and likely to
23
24   be redressed by a favorable decision. Id. at 560-61. When, as here, Plaintiffs are not the object of

25   the disputed exclusion, “standing is not precluded, but it is ordinarily substantially more difficult
26   to establish.” Id. at 562 (internal quotation marks omitted).
27
28
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 1          Because standing is “not [a] mere pleading requirement[] but rather an indispensable part
 2   of the plaintiff’s case,” Plaintiffs must prove standing as they would any other part of the case
 3
     where they bear the burden of proof. Id. at 561. So at summary judgment they must offer, by
 4
     affidavit or other evidence, “specific facts” of each element of standing. Id. (internal quotation
 5
 6   marks omitted). Plaintiffs, who tack on their standing argument to the end of their brief almost as

 7   an afterthought, have not met their burden. See Pls. Br., Dkt. 67 at 12-13.
 8
                A. Plaintiffs’ vague concerns about potential future discharges are not
 9                 cognizable injuries.

10          Plaintiffs must identify particular activities that they say harm them. See Summers v.
11
     Earth Island Inst., 129 S.Ct. 1142, 1150 (2009). Yet for the most part, Plaintiffs’ declarations
12
     only paint, in broad strokes, generalized grievances and speculation about future threats to their
13
     enjoyment of various waters. See, e.g., Declaration of Chris Wilke (Wilke Decl.), Dkt. 67 at ¶¶
14
15   14-15. Only two declarants name specific projects that allegedly harm them. See Declaration of

16   Myron Angstman (Angstman Decl.), Dkt. 67 at ¶ 6; Declaration of James D. DeWitt (DeWitt
17
     Decl.), Dkt. 67 at ¶¶ 13-14; see also Declaration of Dalal Aboulhosn (Aboulhosn Decl.), Dkt. 67
18
     at ¶ 11 (mentioning same mining project as Angstman Decl.); Declaration of Austin Walkins
19
20   (Walkins Decl.), Dkt. 67 at ¶ 14.

21          Of course, just naming names is not enough. Plaintiffs also have to show an “actual or
22   imminent” injury. Lujan, 504 U.S. at 560 (internal quotation marks omitted). No declarant here
23
     claims an “actual” injury. Instead, the declarants voice generalized “concern[]” about the waste
24
     treatment system exclusion’s potential impact on the waters they use. See, e.g., DeWitt Decl.,
25
26   Dkt. 67 at ¶¶ 13-14. But to be “imminent,” a threatened injury must be “certainly impending,”

27   Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013) (internal quotation marks omitted), or
28
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 1   there must be a “substantial risk that harm will occur,” id. at 414 & n.5 (internal quotation marks
 2   omitted). The Ninth Circuit has held that a “credible threat of real and immediate harm” is
 3
     needed to satisfy the imminence requirement. In re Zappos.com, 888 F.3d 1020, 1027 (9th Cir.
 4
     2018). A threat is sufficiently credible if, for example, a laptop containing unencrypted personal
 5
 6   information is stolen. See id. In contrast, the threat is “far less credible” if no laptop had been

 7   stolen and plaintiffs “sued based on the risk that it would be stolen at some point in the future.”
 8
     Id. (internal quotation marks omitted). That is, at most, what is present here.
 9
            Of Plaintiffs’ two declarants who identify specific projects, neither shows an imminent
10
     injury. Sierra Club member Myron Angstman expresses “concern[]” about the Donlin Gold Mine
11
12   Project in Alaska. Angstman, Dkt. 67 at ¶ 10. He worries that a waste treatment system

13   “proposed” for the project “will not perform as intended . . . .” Id.; see id. ¶ 13 (discussing a
14
     “mine plan” to impound certain waters). But the mere speculation of something not performing
15
     “at some point in the future” falls far short of the “credible threat of real and immediate harm”
16
17   that would amount to imminence. Zappos, 888 F.3d at 1027 (internal quotation marks omitted).2

18          Similarly, Idaho Conservation League member James DeWitt speaks of generalized
19   “concern[s]” about the risk of discharge from two mining projects in Idaho, one of which is still
20
     in the proposal phase. DeWitt Decl., Dkt. 67 at ¶ 14; see id. ¶ 13 (discussing “proposal” for mine
21
22
23
     2
24     Mr. Angstman also says that he “believe[s] that the Corps is relying on the Waste Treatment
     System Exclusion as the basis for excluding some natural surface waters that current exist within
25   the Donlin Gold Mine Project’s designated boundaries . . . .” Angstman Decl., Dkt. 67 at ¶ 13.
     But on summary judgment, subjective belief is not enough to meet Plaintiffs’ burden to show
26   standing. See Lujan, 504 U.S. at 561 (“In response to a summary judgment motion . . . the
27   plaintiff can no longer rest on . . . mere allegations” (internal quotation marks omitted)). The
     Court needs to see “specific facts.” Id. (internal quotation marks omitted).
28
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 1   project that “may” rely on the disputed exclusion). The closest that he gets to fleshing out those
 2   concerns is to say that the Hecla Grouse Creek Mine has a “large pile of mine tailings and
 3
     overburden that generates effluent,” which is collected in a settling pond in Pinyon Creek. Id.
 4
     Dkt. 67 at ¶ 14. But Mr. DeWitt acknowledges that the mine has an EPA permit that regulates
 5
 6   discharges from the point where Pinyon Creek flows into Jordan Creek, part of the watershed in

 7   which he recreates. Id. Dkt. 67 at ¶ 14. Critically, he does not allege any inadequacy with the
 8
     permit’s effluent limitations, a violation of the permit, or any aesthetic or recreational interests in
 9
     Pinyon Creek itself. See id. Dkt. 67 at ¶¶ 8 & 14. So Mr. DeWitt does not show any possibility
10
     of being injured, now or imminently, by conjectured activities at Pinyon Creek that could be
11
12   allowed by the exclusion.

13              B. Plaintiffs cannot show traceability or redressability because they cannot tie
14                 any alleged injuries to the ministerial adjustments in the 2015 rule.

15          Even if their vague concerns could somehow qualify as cognizable injuries, Plaintiffs

16   cannot link those injuries to the ministerial tweaks to the 2015 rule, the only action under review.
17
     For one thing, the rule has never applied in Alaska or Idaho, the sites of the three mining projects
18
     that Plaintiffs identify as harming them. That is because the 2015 rule was enjoined in those
19
20   states before it became effective. See North Dakota v. EPA, 127 F. Supp. 3d 1047 (D.N.D.

21   2015). And the injunction remains in effect in Alaska and Idaho. So Plaintiffs’ alleged injuries in
22   those states cannot be fairly traceable to the 2015 rule; nor are they redressable by the Court.3
23
24
25
26   3
       Mr. Angstman states that the Donlin mine’s permit (issued by the Corps) will harm certain
27   wetlands. Angstman Decl. Dkt. 67 at ¶ 9. But Plaintiffs do not trace any damage specifically to
     the 2015 rule’s exclusion for waste treatment systems. See id.
28
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 1          As for other states in which Plaintiffs assert generalized aesthetic and recreational
 2   interests not traceable to any specific project (Washington and Oregon), without offering specific
 3
     facts of anything that will happen to the waters there in light of the ministerial adjustments to the
 4
     2015 rule, Plaintiffs cannot show injury. See Summers, 129 S.Ct. at 1150; Wilke Decl., Dkt. 67 at
 5
 6   ¶¶ 8-12 (describing recreation in various waters around Washington’s Puget Sound); DeWitt

 7   Decl., Dkt. 67 at ¶ 7 (mentioning trips to wildlife refuge in Oregon and its wetlands). Nor can
 8
     they fairly trace their concerns to the 2015 rule. Although the 2015 rule currently applies in
 9
     Washington and Oregon, that has not always been the case. In fact, for the better part of its
10
     existence, the 2015 rule either has been enjoined or had its applicability date delayed—meaning
11
12   that during those periods, the rule did not apply anywhere in the country. See Puget Soundkeeper

13   All. v. Wheeler, 2018 WL 6169196, at *1-2 (W.D. Wash. Nov. 26, 2018) (Coughenour, J.)
14
     (recounting rule’s history). Plaintiffs make no effort to tie the timing of anything that they say
15
     harms them to the short period when the 2015 rule has applied in Washington and Oregon.
16
17          More to the point, any alleged injury here is not redressable. If the Court agrees with

18   Plaintiffs’ merits arguments, the most it can do is vacate the ministerial adjustments of the 2015
19   rule. See infra Argument Section IV. The Court cannot, as Plaintiffs urge, direct EPA to take any
20
     specific action on waste treatment systems. See, e.g., Fed. Power Comm’n v. Idaho Power Co.,
21
     344 U.S. 17, 20 (1952) (holding that courts impermissibly usurp administrative functions when
22
23   dictating to agency how to exercise its discretion on remand); Fla. Power & Light Co. v. Lorion,

24   470 U.S. 729, 744 (1985) (explaining that remand is proper remedy if record does not support
25   agency action or is otherwise inadequate); 5 U.S.C. § 706(2)(A) (limiting court’s authority to
26
27
28
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 1   “hold[ing] unlawful and set[ting] aside” an action found to be arbitrary and capricious); Pls. Br.,
 2   Dkt. 67 at 16-17.
 3
            Specifically, vacatur can only restore the status quo preceding the 2015 rule. And that
 4
     status quo, as Plaintiffs admit, is, in substance, the same as the 2015 rule’s exclusion of waste
 5
 6   treatment systems. See Pls. Br., Dkt. 67 at 7 (describing 2015 rule’s exclusion as “chang[ing]

 7   what was originally adopted as a temporary measure into a permanent exclusion”); Pls. Ex. 1 at
 8
     58-59 (stating that the proposed exclusion “is unchanged from the current regulations”); Pls. Ex.
 9
     2 at 16 (similar). In other words, even if the Court vacated the 2015 rule’s changes to the
10
     longstanding exclusion, the regulatory regime in place will continue to exclude the exact same
11
12   set of waste treatment systems as the regulatory language under the 2015 rule: “Waste treatment

13   systems, including treatment ponds or lagoons designed to meet the [CWA’s] requirements . . . .”
14
     51 Fed. Reg. at 41,250. That “change” cannot redress any injuries Plaintiffs suffer.
15
            Having failed to present specific facts of an injury in fact that is traceable to the 2015 rule
16
17   and that is redressable, Plaintiffs cannot meet their burden to show standing. This Court thus has

18   no jurisdiction to consider their claim.4
19
20
21
22
23   4
       Although some of Plaintiffs’ declarants mention their procedural interest in commenting on the
24   disputed exclusion, see, e.g., Aboulhosn Decl., Dkt. 67 at ¶¶ 13-14, Walkins Decl., Dkt. 67 at ¶
     15, Plaintiffs’ brief does not assert procedural standing. See Pls. Br. at 12-13. And even if it did,
25   the Supreme Court has made clear that “deprivation of a procedural right without some concrete
     interest that is affected by the deprivation . . . is insufficient to create Article III standing.”
26   Summers, 129 S.Ct. at 1151. Having failed to show an injury in fact, see supra Argument Section
27   I.A, Plaintiffs cannot rely on procedural rights for their standing. See Summers, 129 S.Ct. at
     1151.
28
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 1       II.      Plaintiffs’ substantive challenge is untimely because the 2015 rulemaking did not
                  reopen the exclusion for waste treatment systems.
 2
 3             The 2015 rule did not substantively change the challenged waste treatment system

 4   exclusion. The exclusion is the same as it was prior to the 2015 rule, except that the Agencies
 5   renumbered the provision and deleted an outdated cross-reference not at issue in this case.
 6
     Plaintiffs’ arguments are untimely because the challenged exclusion was promulgated more than
 7
     thirty years ago.
 8
 9             Plaintiffs’ facial challenge to the exclusion arises under the APA, and the general statute

10   of limitations for civil actions against the United States applies to APA actions. Wind River
11
     Mining Corp. v. United States, 946 F.2d 710, 712 (9th Cir. 1991). That limitations period is “six
12
     years after the right of action first accrues.” 28 U.S.C. § 2401(a). Plaintiffs’ right of action first
13
     accrued in 1980, when EPA first suspended a limitation to the waste treatment system exclusion
14
15   and decided that further substantive changes to this exclusion would require further rulemaking.

16   Plaintiffs themselves recognize that a suspension can be a substantive change subject to judicial
17
     review. Pls. Br., Dkt. 67 at 10. We are now decades past the six-year limitations period to
18
     challenge the exclusion as modified in 1980, so Plaintiffs’ facial challenge here is barred.
19
20             Plaintiffs make no mention of the limitations period, but appear to believe that they have

21   a new right of action to challenge the omission of the language suspended in 1980. Even if that
22   were true, this omission is not new to the 2015 rule. Rather, the omission dates back to at least
23
     1986, when the Corps issued a revised definition of “waters of the United States.” The 1986
24
     regulation omitted the suspended language from the C.F.R. 51 Fed. Reg. at 41,250 (33 C.F.R. §
25
26   328.3). There is no note of the suspended state of the exclusion’s second sentence in the Federal

27   Register. Id. The second sentence simply does not appear. Id. Plaintiffs might have made their
28
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 1   argument that the omission was a substantive change and sought review of the 1986 regulation—
 2   at least until 1992. Instead, Plaintiffs waited until now to raise a substantive challenge to a
 3
     regulation that remains substantively unchanged. This challenge is untimely.
 4
             Plaintiffs could seek to overcome the statute of limitations if the Agencies had reopened
 5
 6   the substance of the waste treatment system exclusion to challenge when the Agencies proposed

 7   to modify the exclusion in 2014. But Plaintiffs cannot “bootstrap” their substantive case against
 8
     the exclusion to the limited, ministerial revisions proposed by the Agencies. Am. Iron & Steel
 9
     Inst. v. EPA, 886 F.2d 390, 398 (D.C. Cir. 1989). The Ninth Circuit generally follows D.C.
10
     Circuit precedent on the statute of limitations for challenges to agency regulations. Wind River
11
12   Mining Corp., 946 F.2d at 715. And the D.C. Circuit has repeatedly held that a longstanding

13   regulatory provision is not reopened to a facial challenge unless the agency has reconsidered the
14
     provision, offered a rationale, solicited substantive comments, and responded to those comments.
15
     Am. Iron & Steel Inst., 886 F.2d at 397. Reopening occurs only if the agency undertakes a
16
17   “serious, substantive reconsideration” of the existing rule. Nat’l Mining Ass’n, 70 F.3d at 1352.

18          The Agencies did not substantively reconsider the waste treatment system exclusion in
19   the 2015 rule. They did not purport to reexamine, reconsider, or invite comment on the substance
20
     of this exclusion. Rather, in the proposed rule, the Agencies explicitly stated that they were not
21
     seeking substantive comment on the exclusion. 79 Fed. Reg. at 22,217 (“The agencies do not
22
23   propose to address the substance of the waste treatment system exclusion . . . .”). They merely

24   proposed ministerial changes (renumbering the provision and deleting an outdated cross-
25   reference not at issue here). Id. at 22,190. In the final 2015 rule, the Agencies reaffirmed their
26
     intent not to substantively reconsider the exclusion. Indeed, when commenters suggested a new
27
28
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 1   comma in the proposed rule might be substantive, the Agencies explained that they never
 2   “intend[ed] to change how the waste treatment exclusion is implemented.” 80 Fed. Reg. 37,054,
 3
     37,097 . So they deleted the comma, to preclude any future suggestion (as here) that the
 4
     Agencies were substantively modifying the exclusion.
 5
 6              Plaintiffs acknowledged that the Agencies proposed no substantive change to the

 7   exclusion, even though they submitted substantive comments on the waste treatment system
 8
     exclusion. Pls. Ex. 1 at 58-59; Pls. Ex. 2 at 16. In their brief, Plaintiffs recognize that the
 9
     proposed rule did not seek comment on the underlying rationale for the exclusion. Pls. Br., Dkt.
10
     67 at 8. The Agencies did not respond to Plaintiffs’ substantive comments on the exclusion
11
12   because its substance was never at issue in the 2014-2015 rulemaking. The Agencies have no

13   legal obligation to respond to irrelevant comments. See Am. Mining Cong. v. EPA, 965 F.2d 759,
14
     771 (9th Cir. 1992). Individuals cannot, through their comments, commandeer the discretion and
15
     resources of the Agencies and force them to reopen the substance of the waste treatment system
16
17   exclusion. Am. Iron & Steel Inst., 886 F.2d at 398 (receipt of comments “on matters other than

18   those actually at issue” does not “re-open[]” regulations). Plaintiffs have missed the deadline to
19   raise their substantive challenge to this longstanding exclusion by several decades. And because
20
     the disputed exclusion was not re-opened for substantive debate when it was republished with
21
     ministerial changes, the Agencies did not violate any notice and comment procedures.
22
23       III.      Plaintiffs’ claim is meritless because the exclusion is permissible and reasonable.

24              If the Court reaches the merits of the waste treatment system exclusion, it should reject
25   Plaintiffs’ argument that the exclusion exceeds the Agencies’ authority under the CWA.
26
27
28
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 1           Plaintiffs first argue that the exclusion violates the CWA’s plain language because the
 2   statute does not authorize the Agencies to remove “waters of the United States” from the Act’s
 3
     protections. Pls. Br., Dkt. 67 at 6-7. This argument ignores CWA section 404, 33 U.S.C. § 1344.
 4
     This section provides statutory authorization for jurisdictional waters to be filled under certain
 5
 6   conditions. Once jurisdictional waters are filled, they may no longer be waters, resulting in the

 7   removal of jurisdiction. Plaintiffs are thus incorrect that the CWA’s plain language bars removal
 8
     of jurisdiction.
 9
             Plaintiffs are also wrong that the CWA is unambiguous as to waste treatment systems. It
10
     was not a foregone Congressional conclusion that such systems would be regulated as “waters of
11
12   the United States.” The Clean Water Act’s prohibitions extend to “navigable waters,” further

13   defined as “waters of the United States,” with no mention of waste treatment systems. 33 U.S.C.
14
     §§ 1311(a), 1362(12), 1362(7).
15
             Plaintiffs are then left with their argument that the waste treatment system exclusion does
16
17   not fulfill the express purpose of the Clean Water Act to protect the “chemical, physical, and

18   biological integrity” of waters. 33 U.S.C. § 1251(a). Preliminarily, even if there were a conflict
19   between the exclusion and the generalized statutory purposes Plaintiffs cite, “no legislation
20
     pursues its purposes at all costs.” Am. Express Co. v. Italian Colors Rest., 133 S. Ct. 2304, 2309
21
     (2013) (alteration in original) (citations omitted). “[T]he textual limitations upon a law’s scope
22
23   are no less a part of its ‘purpose’ than its statutory authorizations.” Rapanos v. United States, 547

24   U.S. 715, 752 (2006). There is no facial contradiction between the Agencies’ waste treatment
25   exclusion and the statutory protection of “navigable waters.” 33 U.S.C. §§ 1311(a), 1362(12).
26
     The Court assumes “that the ordinary meaning of [the statutory] language accurately expresses
27
28
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 1   the legislative purpose.” Marx v. General Revenue Corp., 133 S. Ct. 1166, 1172 (2013) (quoting
 2   Hardt v. Reliance Standard Life Ins. Co., 130 S. Ct. 2149, 2156 (2010)). And the ordinary
 3
     meaning of the CWA does not clearly require what Plaintiffs advocate.
 4
            The only court to have directly considered whether the waste treatment exclusion was
 5
 6   ultra vires concluded that the exclusion is not. In Ohio Valley Environmental Coalition, the

 7   Fourth Circuit held that the definition of “navigable waters” as “waters of the United States” was
 8
     “sufficiently ambiguous” that the “Corps has the authority to determine which waters are
 9
     covered by the CWA,” including the authority to decide whether waste treatment systems were
10
     or were not “waters of the United States.” 556 F.3d at 212. Plaintiffs acknowledge this decision.
11
12   They say that the court erred in its analysis by asking whether the CWA unambiguously includes

13   certain waters, not whether the statute unambiguously prevents the exclusion of certain waters.
14
     Pls. Br., Dkt. 67 at 7 n.3. These questions collapse together. Congress did not draw unambiguous
15
     boundaries around waste treatment systems when it extended CWA jurisdiction over “navigable”
16
17   waters, meaning “waters of the United States.” Neither term expressly includes or excludes

18   waste treatment systems.
19          To be sure, there is a reasonable limit to the interpretation of any ambiguous term,
20
     Chevron, 467 U.S. at 842-43, and the reasonableness of the exclusion is at the heart of Plaintiffs’
21
     concerns. Since promulgating the exclusion, the Agencies have consistently found that the
22
23   exclusion reasonably applies to waste treatment systems designed to meet the requirements of

24   the CWA, such as those constructed pursuant to a section 404 permit. See Ohio Valley Envtl.
25   Coal., 556 F.3d at 214-15 (finding that the Agencies’ administrative positions and
26
     implementation of the exclusion has been consistent). The CWA section 402 permitting program
27
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 1   also helps ensure that a waste treatment system complies with the Act by regulating discharges
 2   from the system into receiving waters.
 3
            Thus, contrary to Plaintiffs’ suggestion, Pls. Br., Dkt. 67 at 6-7, there is no conflict
 4
     between the waste treatment system exclusion and the CWA’s fundamental goals. The exclusion
 5
 6   does not free a discharger from the need to comply with the CWA for pollutants discharged from

 7   a waste treatment system to a water of the United States. The waste treatment system exclusion
 8
     exempts only those discharges that remain within the treatment system itself. See N. Cal. River
 9
     Watch v. Healdsburg, 496 F.3d 993, 1002 (9th Cir. 2007) (“The exception was meant to avoid
10
     requiring dischargers to meet effluent discharge standards for discharges into their own closed
11
12   system treatment ponds.”) (citing 45 Fed. Reg. 48,620-21 (July 21, 1980)) (emphasis in original).

13   Thus, the waste treatment system exclusion is distinguishable from the categorical “point source”
14
     exemptions that Plaintiffs note some courts have found to be ultra vires. See, e.g., Nat. Res. Def.
15
     Council, Inc. v. Costle, 568 F.2d 1369, 1377 (D.C. Cir. 1977). The CWA does not expressly
16
17   require that releases should be regulated twice: once when discharged into the waste treatment

18   system, and a second when discharged from the waste treatment system into a receiving water.
19          Plaintiffs take particular issue with the Agencies’ interpretation of the exclusion as
20
     extending beyond manmade waste treatment systems originally constructed outside of navigable
21
     waters. But to prevail in a facial challenge, Plaintiffs “must establish that no set of circumstances
22
23   exists under which the regulation would be valid.” Reno v. Flores, 507 U.S. 292, 300 (1993)

24   (internal citations, quotation marks and brackets omitted). As the Fourth Circuit has recognized,
25   the Agencies have interpreted the waste treatment system exclusion in different ways. Ohio
26
     Valley, 556 F.3d at 213. The 2015 rule does not codify or modify any particular interpretation of
27
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 1   the exclusion. The applicable text remains the same as it was prior to the 2015 rule. If Plaintiffs
 2   disagree with the Agencies’ interpretation of the regulation, they must challenge the application
 3
     of that interpretation in a permitting decision or other application of that interpretation. Their
 4
     facial challenge to the exclusion, however, must fail because Plaintiffs themselves recognize that
 5
 6   there is an interpretation of the exclusion that would be valid.

 7      IV.  If the Court rules against the Agencies on the merits, the appropriate remedy is
        remand.
 8
 9          This Court should grant summary judgment to the Agencies because Plaintiffs lack

10   standing and their challenge is untimely and unmeritorious. If the Court decides otherwise, the
11
     appropriate remedy would be to remand the 2015 adjustment to the exclusion to the Agencies.
12
     See Fla. Power & Light Co. v. Lorion, 470 U.S. 729, 744 (1985) (“If the record before the
13
     agency does not support the agency action, if the agency has not considered all relevant factors,
14
15   or if the reviewing court simply cannot evaluate the challenged agency action on the basis of the

16   record before it, the proper course, except in rare circumstances, is to remand to the agency for
17
     additional investigation or explanation.”). The only other option in this rulemaking challenge is
18
     to remand and vacate the changes to the exclusion in the 2015 rulemaking. Cal. Cmtys. Against
19
20   Toxics v. EPA, 688 F.3d 989, 992 (9th Cir. 2012).

21          Instead of requesting remand or remand with vacatur, Plaintiffs make an extraordinary
22   and unprecedented demand for an injunction that would require the Agencies to act as if there is
23
     additional language in the waste treatment system exclusion—the same language that the
24
     Agencies previously suspended. Pls. Br., Dkt. 67 at 16-17. It is well-established that courts
25
26   cannot “exercise an essentially administrative function” and effectively rewrite a regulation

27   contrary to the agency’s intent. The Supreme Court decided in 1952 that the power to “modify or
28
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 1   set aside” administrative decisions does not include the power to change an administrative
 2   decision. Idaho Power Co., 344 U.S. at 87. There, the Supreme Court interpreted the reach of the
 3
     Federal Power Act, which—even more broadly than the APA—allows courts to “affirm, modify
 4
     or set aside” orders of the Federal Power Commission. Id. (emphasis added) (internal quotation
 5
 6   marks and citations omitted). Yet the Court decided that it lacked authority to modify the

 7   Commission’s order by removing conditions the agency set in the order. Id. To do so would
 8
     invade the executive’s province to implement the law. Id.; see also Sec. & Exch. Comm’n v.
 9
     Chenery Corp., 318 U.S. 80, 88 (1943).
10
            Plaintiffs bring this case under the APA, which, like the Federal Power Act, allows courts
11
12   to “set aside” administrative decisions (but not “modify” these decisions). See 5 U.S.C. § 706(2).

13   And like the Federal Power Act, the APA does not allow courts sitting in review of agency
14
     action to essentially construct a different action that the agency did not intend. “[T]he guiding
15
     principle” of judicial review of administrative decisions “is that the function of the reviewing
16
17   court ends when an error of law is laid bare. At that point the matter once more goes to the

18   [agency] for reconsideration.” Idaho Power Co., 344 U.S. at 20. The options before this Court
19   are to remand the 2015 rule adjustments to the Agencies for further consideration, or otherwise
20
     to remand and vacate the 2015 rule adjustments, leaving the preceding version of the regulation
21
     with the cross-reference in place.
22
23          Vacatur would be inappropriate in this case. In assessing whether vacatur is necessary,

24   courts consider “how serious the agency’s errors are and the disruptive consequences of an
25   interim change that may itself be changed.” Cal. Cmtys.Against Toxics, 688 F.3d at 992 (quoting
26
     Allied-Signal, Inc. v. U.S. Nuclear Reg. Comm’n, 988 F.2d 146, 150-51 (D.C. Cir. 1993)). The
27
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 1   Agencies made limited, non-substantive changes to the waste treatment system exclusion in the
 2   2015 rulemaking—deleting an outdated cross-reference and renumbering the provision. Any
 3
     errors in promulgating these ministerial changes would be themselves limited, and vacating these
 4
     changes would cause unnecessary confusion, especially as the Agencies are currently
 5
 6   considering further changes to the waste treatment system exclusion.

 7          On February 14, 2019, the Agencies proposed substantive modifications to the waste
 8
     treatment system exclusion. 84 Fed. Reg. at 4193. Plaintiffs have now had the opportunity to
 9
     make the substantive comments that they argue the Agencies should have considered in the 2015
10
     rulemaking. The Agencies will consider the substantive reasons for and against the waste
11
12   treatment system exclusion before making a decision on the 2019 proposal. There is no need for

13   the Court to vacate the 2015 changes to the waste treatment system exclusion during this interim
14
     period before a decision on the 2019 proposal.
15
            Even if injunctive relief of the form Plaintiffs seek were available in rulemaking cases,
16
17   Plaintiffs have not established that they meet the four required criteria for a permanent

18   injunction: irreparable harm, inadequate legal remedies, imbalance of hardships, and disservice
19   to the public interest. As discussed earlier, Plaintiffs are not harmed by the waste treatment
20
     system exclusion or the 2015 changes to the disputed exclusion, much less irreparably so. See
21
     supra Argument Section I.A. Plaintiffs appear to argue that if the Agencies finalize the new 2019
22
23   proposed changes to the waste treatment system exclusion, Plaintiffs will be forever harmed by

24   the waste treatment system exclusion. But the Agencies retain discretion to decide how to
25   modify the waste treatment system exclusion. They may not finalize the proposed language. And
26
     if they do, Plaintiffs will have the opportunity to seek judicial review of the final rule. The
27
28
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 1   Supreme Court has recognized that permanent injunctions against agency decisions are not
 2   appropriate when the agency is contemplating a revision of that decision, and litigants “may file
 3
     a new suit challenging such action . . . .” Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139,
 4
     162 (2010). Any injury to Plaintiffs will not be irreparable, and Plaintiffs will have sufficient
 5
 6   legal recourse to challenge the substance of the waste treatment system exclusion.

 7          Further, neither the balance of hardships nor the public interest justifies an injunction.
 8
     Executive agencies should not be barred from exercising their discretion in any manner
 9
     consistent with law. And Plaintiffs’ injunction would unlawfully curtail agency discretion to
10
     define waste treatment systems in any reasonable manner and effectively impose regulatory
11
12   language suspended decades earlier. Id. Again, neither the waste treatment system exclusion nor

13   the 2015 adjustments to the exclusion at issue in this case have caused Plaintiffs any hardship.
14
     Stifling executive agencies’ abilities to apply their expert judgment and reasonably improve
15
     regulations will have a profoundly negative impact on federal agencies, not just in this case, but
16
17   in all cases challenging regulations. This will in turn negatively affect the American people, who

18   are benefited by regulations created by impartial and expert agencies, not special interest groups.
19          Finally, Plaintiffs have abandoned their claim that the Agencies have unreasonably
20
     delayed in addressing the substance of the waste treatment system exclusion. Because the
21
     Agencies are currently considering the substance of this provision in their 2019 rulemaking,
22
23   there is no need for the Court to direct the Agencies to do so. Because the Agencies did not err in

24   promulgating the 2015 ministerial modifications to the waste treatment system exclusion, the
25   Agencies’ motion for summary judgment should be granted, Plaintiffs’ motion for summary
26
     judgment should be denied, and this case should be dismissed.
27
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 1   Respectfully submitted on May 29, 2019.
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